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                 Exhibit K-1 -Alejandro J. Irizarry En Page 2 of 18


 September 4, 2021




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    September 26, 2019




    To whom it may concern:
    In reply to your request for information based on Claim number 153293, the information is, to
    the best of my knowledge and understanding, as follows:
            1) This claim corresponds to the year 2001;
            2) The Governor at that time was the Honorable Ms. Sila María Calderón;
            3) When enacting the Teaching Career Law, the School Counselors and Social
            Workers of the Puerto Rico Department of Education were excluded;
            4) This case was brought before the Supreme Court of Puerto Rico;
            5) Said case was brought before the court by the Puerto Rico Teachers’ Association;
            6) The case number is: SJ2019CVO7914 under the Teaching Career Law;
            7) The increase in salary was three hundred seventy-five ($375.00) US dollars per
            month;
            8) Said case was won in court before the Supreme Court of Puerto Rico;
            9) Therefore, if the increase of three hundred seventy-five ($375.00) US dollars per
            month is correct;
            10) It must be multiplied for the years from 2001 to 2007, as follows;
            11) If the above is correct, $375.00 must be multiplied x 12 months x 7 years,
            12) Said result would be as follows: $375.00 x 12 months = $4,500.00, and these
            $4500.00 x 7 years = $31,500.00;
            13) If the calculation is correct, I am owed the amount of $31,500.00 dollars per salary
            worked, which I have not been paid;
            14) If this is not correct, as stated by a public servant, you are the ones who are correct,
            claiming that the value of the claim is $10,800.00.
    I am also including my postal address below, in case you need to send me more sensitive
    information. It is as follows:
    Mr. Alejandro Jesús Irizarry Irizarry
    P.O. Box 34
    Mayagüez, PR 00681-0034

    I await your response,
    [handwritten signature]
    Alejandro Jesús Irizarry Irizarry

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                               TRANSLATOR’S CERTIFICATE OF TRANSLATION



Translation from: Spanish (Puerto Rico) into English (US)

TARGEM Translations Inc.

I, Andreea I. Boscor, ATA-certified Spanish-English #525556, acting as translator at TARGEM Translations Inc., a NEW
YORK City corporation, with its principal office at 185 Clymer Street, Brooklyn, NY, 11211, USA, certify that:

the English translated document is a true and accurate translation of the original Spanish and has been translated to
the best of my knowledge.



Original Document Name: Claim No. 153293



                                                                       Signed this 26th day of December 2021




                                                                       __________________________

                                                                            Andreea I. Boscor
